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  November 1, 2019


  Honorable Loretta A. Preska
  United States District Court
  Southern District of New York
  500 Pearl Street
  New York, NY 10007

  Re: October 30 Order (Doc.1000)
      Giuffre v. Ghislaine Maxwell, No. 15 Civ. 7433 (LAP)

  Dear Judge Preska:

  In a different case, Giuffre v. Dershowitz, No. 19-cv-3377 (LAP) (S.D.N.Y.)
  defendant Mr. Dershowitz requested pre-answer discovery—“immediate[]
  produc[tion]” of sealed documents in the case at bar. Doc.71, No. 19-cv-3377.
  Non-party John Doe objected in the case at bar to the discovery. Doc.999. On
  behalf of defendant Ghislaine Maxwell, we submit this response to Mr. Doe’s
  objection.

  We have read plaintiff’s allegations of “defamation” in the Giuffre v.
  Dershowitz lawsuit, which is Giuffre v. Maxwell redux. It is plaintiff’s familiar
  litigation template: Identify a prominent person with any ties to Jeffrey Epstein,
  go to the media, make false allegations that that person participated in
  Mr. Epstein’s “sex trafficking ring,” wait for the public denial, and then sue
  for “defamation.” So we agree with Mr. Dershowitz that Ms. Giuffre’s
  deposition testimony and related exhibits, are “relevant to [the Giuffre v.
  Dershowitz] claim[s] or defense[s],” Fed. R. Civ. P. 26(b)(1).

  To the extent the Court agrees Mr. Dershowitz’s request for pre-answer
  discovery should be granted, the Court may permit the discovery while
  preserving the parties’ and non-parties’ interests in the case at bar. Ms. Giuffre
  and the media intervenors in the case at bar have taken the position that none
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  of the sealed materials should remain sealed; so they have waived any unsealing
  objection. Ms. Maxwell and the non-parties such as Mr. Doe have objected to
  unsealing and are seeking to protect their privacy and other interests. We
  respectfully submit that these interests can be protected by entry of an order
  granting Mr. Dershowitz’s request for the discrete pre-answer discovery he has
  requested subject to the Protective Order (Doc.62) already entered in this case.

  We wish to underscore that we are addressing here only Mr. Dershowitz’s
  request for “discrete pre-Answer discovery,” Doc.1001 at 1, namely, the
  production of the transcript of and related exhibits used in Ms. Giuffre’s
  deposition in the case at bar. We do not wish to be seen as waiving
  Ms. Maxwell’s right to object to the unsealing of any materials in this case.1
  Nor do we waive Ms. Maxwell’s right to address the appropriate limitations on
  the use in another case of sealed materials in this case.

  Very truly yours,



  Ty Gee

  C: Counsel of Record (via ECF)




         1
          In his pre-answer letter motion Mr. Dershowitz requested
  “immediate[] produc[tion]” of the transcript and exhibits. Doc.71, No. 19-cv-
  3377. In his response to Mr. Doe’s objection Mr. Dershowitz said he was
  requesting the “unsealing” of the transcript and exhibits. Doc.1001. We do not
  agree unsealing is appropriate since that is the very question being addressed in
  the proceedings in the case at bar. We assume the issue is academic, since the
  letter motion is the operative request for pre-answer discovery, and it requests
  production only.
